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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

JUDITH NEWMAN,
as Personal Representative          Cause No.
of the Estate of Karlye Newman

                      Plaintiff,    NOTICE OF REMOVAL

           v.

UNITED FIRE AND CASUALTY
COMPANY,

                      Defendant.


     PLEASE TAKE NOTICE that the Defendant, United Fire and

Casualty Company, hereby removes to this Court, the State Court action

filed as Judith Newman, as Personal Representative of the Estate of

Karlye Newman v. United Fire and Casualty Company.
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      1.      On April 23, 2012, an action was filed in the Montana Twentieth

Judicial District Court, Lake County, entitled “JUDITH NEWMAN AS

PERSONAL REPRESENTATIVE OF THE ESTATE OF KARLYE

NEWMAN, Plaintiff v. UNITED FIRE AND CASUALTY COMPANY,

Defendant” as Cause No. DV 10-460. Attached as Exhibit A is a copy of

Plaintiff’s state court Amended Complaint with all process, pleadings and

orders served on the Defendant.

      2.      United Fire and Casualty’s registered agent was served with

process in the state court action through the Montana Commissioner of

Insurance on January 30, 2013. This Notice of Removal to the United

States District Court is therefore filed within 30 days after receipt by United

Fire and Casualty Company of a copy of the initial pleading setting forth the

claim for relief upon which such action or proceeding is based.

      3.      Plaintiff is the Personal Representative of the Estate of Karlye

Newman. Upon information and belief, Plaintiff is a citizen of Colorado.

Defendant is an Iowa Corporation with its principal place of business in

Cedar Rapids, Iowa.

      4.      This case is a civil action of which this Court has original

jurisdiction under 28 U.S.C. § 1332 (diversity of citizenship), and is one


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which may be removed to this Court by Defendant pursuant to 28 U.S.C. §

1441, in that it is a civil action between citizens of different states and the

matter in controversy exceeds the sum of $75,000, exclusive of interests

and costs, given demands.

      5.      Pursuant to 28 U.S.C. § 106, 1446(a) and (b), and Local Rule

1.9(c), the state court action which was commenced in the Montana

Twentieth Judicial District, Lake County, may be removed to this federal

district court which embraces Lake County in the Missoula Division.

      6.      Promptly upon the filing of this Notice of Removal, United Fire

and Casualty will give notice in writing thereof to Plaintiff. Within seven

days after filing this Notice of Removal, United Fire and Casualty Company

will file in State Court a “Notice to State Court of Filing of Notice of

Removal to the United States District Court” pursuant to Local Rule 3.2(a).

      WHEREFORE, United Fire and Casualty Company respectfully

requests that the action pending in the Montana Twentieth Judicial District

Court, Lake County, Montana, be removed to this Federal Court for further

proceedings, and that this Court assume jurisdiction, proceed as an action

properly removed to this Court, and make further orders as may be just

and proper.


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   DATED this 13th day of February, 2013.




                        /s/ Stephanie A. Hollar
               Stephanie A. Hollar, Esq.
               Dennis P. Clarke, Esq.
               SMITH, WALSH, CLARKE & GREGOIRE, PLLP
                    Attorneys for Defendant




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